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   8 1AND8 INC., dba MUSEUM OF ICE
     CREAM
   9
 10                               UNITED STATES DISTRICT COURT
 11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 PRETTY IN PLASTIC, INC., a                         Case No. 2:18-cv-06091-GW (SKx)
    California corporation,
 14                                                    DEFENDANTS’ REPLY BRIEF IN
                 Plaintiff,                            SUPPORT OF MOTION TO
 15                                                    DISMISS COMPLAINT
          v.
 16                                                    Date: November 8, 2018
    MARYELLIS BUNN, an individual;                     Time: 8:30 a.m.
 17 and1AND8 INC., a Delaware                          Crtrm.: 9D
    corporation dba MUSEUM OF ICE
 18 CREAM,                                             The Hon. George H. Wu
 19                       Defendants.
 20
 21
 22
 23
 24
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 26
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                                                                      Case No. 2:18-cv-06091-GW (SKx)
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   1 I.        INTRODUCTION
   2           By any measure, the parties’ works are not substantially similar in protected
   3 expression, and Plaintiff’s Opposition does little more than highlight the meritless
   4 nature of its claims. Most of the similarities on which Plaintiff relies—e.g., that
   5 both unicorns have tails, ears, and spiraled horns—are inherent to the treatment of
   6 unicorns and thus unprotected by copyright law. Other such purported
   7 “similarities,” when viewed in the context of the works themselves, are in fact not
   8 similar at all. Accordingly, Plaintiff cannot state a plausible claim for copyright
   9 infringement.
 10            Similarly, Plaintiff incorrect asserts that its unjust enrichment and unfair
 11 competition claims are grounded in “breach of a confidential relationship,” and thus
 12 not preempted by the Copyright Act. However, Plaintiff has not alleged (and cannot
 13 do so) the existence of a confidential relationship that imposes fiduciary-like duties.
 14 Plaintiff and MOIC had an arms-length transactional relationship, not a fiduciary
 15 one. Plaintiff’s claims are based solely on allegations regarding Defendants’
 16 unauthorized use of Plaintiff’s copyrighted work. As such, they are preempted by
 17 the Copyright Act.
 18            Finally, Plaintiff strains credulity by effectively arguing that any use of a
 19 white unicorn necessarily breached the parties’ NDA. This, of course, cannot be, as
 20 the NDA explicitly excludes from protection all ideas that were publicly available.
 21 That necessarily includes broad concepts that were already in vogue and ubiquitous
 22 in modern pop culture.
 23            In sum, Plaintiff’s claims fail and cannot be salvaged by amendment.
 24 Accordingly, the Complaint should be dismissed with prejudice.
 25 II.        DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IS
               APPROPRIATE AND SHOULD BE GRANTED
 26
               Defendants have submitted a Request for Judicial Notice of entries from the
 27
       Merriam-Webster Dictionary and Encyclopedia Britannica which illustrate that
 28

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   1 unicorns are commonly depicted with a white body and gold horn. [See Docket No.
   2 18.] Plaintiff does not contend that these sources are unreliable. Rather, Plaintiff
   3 argues that these sources may not be used to show that white bodies and gold horns
   4 are common to the depiction of unicorns, relying on this Court’s opinion in Silas v.
   5 Home Box Office, Inc., 201 F. Supp. 3d 1158, 1170 (C.D. Cal. 2016).
   6           Silas is easily distinguished. There, plaintiffs sued HBO for copyright
   7 infringement related to defendants’ television series, Ballers. Id. at 1164-67. In
   8 connection with their motion to dismiss, defendants requested that the Court take
   9 judicial notice of elements common in earlier works about professional football
 10 players, including “movies, television shows, novels, and news articles.” Id. at
 11 1169-70. While ultimately granting defendants’ motion to dismiss, the Court denied
 12 the request for judicial notice, noting that “Defendants cite no prior cases where a
 13 court has taken judicial notice of other works within a genre.” Id. at 1170.
 14            Unlike the entertainment sources at issue in Silas, courts routinely have taken
 15 judicial notice of entries from the Encyclopedia Britannica and Merriam-Webster
 16 Dictionary. See, e.g., Singh v. Ashcroft, 393 F.3d 903, 905 (9th Cir. 2004) (taking
 17 judicial notice of entry in Encyclopedia Britannica); Petrov v. Herbert Research,
 18 Inc., No. 14-754, 2015 WL 4508708, at *4 (W.D. Wash. July 24, 2015) (same);
 19 Sexy Hair Concepts, LLC v. Conair Corp., No. 12-cv-2218-CBM, 2013 WL
 20 12119721, at *3 (C.D. Cal. Feb. 25, 2013) (taking judicial notice of definition of
 21 “sexy” from Merriam-Webster Dictionary); Phillips v. P.F. Chang’s China Bistro,
 22 Inc., No. 5:15-cv-344-RMW, 2015 WL 4694049, at *2 (N.D. Cal. Aug. 6, 2015)
 23 (taking judicial notice of Merriam-Webster Dictionary definition of “celiac
 24 disease”); Rugg v. Johnson & Johnson, No. 17-cv-5010-BLF, 2018 WL 3023493, at
 25 *3 (N.D. Cal. June 18, 2018) (taking judicial notice of various dictionary
 26 definitions); Gonzalez v. Guzman, No. 17-cv-241-GPC, 2017 WL 5446087, at *3 n.
 27 4 (S.D. Cal. Nov. 14, 2017) (“Dictionary definitions are a proper subject for judicial
 28 notice.”).

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   1           Moreover, unlike Silas, here the proffered sources explicitly state that
   2 unicorns are “usually white,” and thus may be used to establish elements common to
   3 unicorns. (See, e.g., RJN at 6 (Merriam-Webster Dictionary, defining “unicorn” as
   4 “a mythical, usually white animal generally depicted with the body and head of a
   5 horse with long flowing mane and tail and a single often spiraled horn in the middle
   6 of the forehead”) (emphasis added); RJN at 18 (Encyclopedia Britannica, referring
   7 to ancient Greek literature which originally described unicorns as having a “white
   8 body”) (emphasis added).) Accordingly, the Court should grant Defendants’
   9 Request for Judicial Notice.
 10            However, even if the Court denies Defendants’ Request for Judicial Notice,
 11 Plaintiff’s copyright infringement claim still fails for lack of substantial similarity.
 12 As set forth in Defendants’ moving brief, the unicorns are expressed in strikingly
 13 different ways. (Motion at 12:25-13:27.) Naturally, both works share the colors
 14 white and gold, but this does not materially impact their overall lack of similarity.
 15 See, e.g., Baby Buddies, Inc. v. Toys R Us, Inc., 611 F.3d 1308, 1318, 1317 n. 16
 16 (10th Cir. 2010) (affirming finding of no substantial similarity despite similarities in
 17 color of both parties’ teddy bears; noting “color by itself is not subject to copyright
 18 protection”; Wavelength Film Co. v. Columbia Pictures Indus., Inc., 631 F. Supp.
 19 305, 307 (N.D. Ill. 1986) (finding that both works’ spaceships shared the same color
 20 but that this mere similarity was insufficient to constitute copyright infringement).
 21 III.       PLAINTIFF’S COPYRIGHT INFRINGEMENT CLAIM FAILS AS A
               MATTER OF LAW
 22
               A.         The Protectable Elements Of The Parties’ Works Differ Greatly
 23
               Plaintiff contends that it has properly stated a claim for copyright
 24
       infringement because Defendants “copied at least twenty distinct, protectable
 25
       elements from Plaintiff’s work.” (Opposition at 7:2-3.) In actuality, the elements
 26
 27
 28

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   1 identified by Plaintiff overwhelmingly constitute unprotectable features that are
   2 inherent to the depiction of unicorns. 1
   3           For example, Plaintiff contends that the parties’ unicorns both feature the
   4 following elements:
   5                 • have “relatively realistic equine bodies,”
   6                 • are “standing mid-walking stride,”
   7                 • are “depicted with their weight on their front legs,”
   8                 • have “a relaxed tail,”
   9                 • have “ears [that] are up,”
 10                  • have horns “that spiral[] the entire length of the horn,”
 11                  • have “relatively flat back[s],”
 12                  • have “strong chest muscles,”
 13                  • have “strong masseter muscles in the cheek,”
 14                  • have “a relatively long neck,” and
 15                  • have “a relatively large head.”
 16 (See Opposition at 7:14-8:19.)
 17            Essentially, Plaintiff argues that because both unicorns hold the same
 18 posture—e.g., mid-walking stride—and feature the same body parts—e.g., equine
 19 bodies, a relaxed tail, ears, horns—Plaintiff has alleged substantial similarity. Yet,
 20 these elements are inherent to the treatment of unicorns. As such, they are
 21 unprotectable and free for others to use. See, e.g., Satava v. Lowry, 323 F.3d 805,
 22 810 (9th Cir. 2003) (“no copyright protection may be afforded to . . . elements of
 23 expression that naturally follow from the idea of [a glass-in-glass jellyfish
 24
       1
 25            Other elements identified by Plaintiff are, in fact, not shared between the
               works. For example, Plaintiff contends that both unicorns have “manes [that]
 26            fall to the same side” and are “looking slightly away from the forward front
 27            leg.” (Opposition at 7:24-27) Yet, Plaintiff’s unicorn does not possess a
               mane, and while Plaintiff’s unicorn looks down towards the floor, MOIC’s
 28            unicorn looks straight ahead.
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   1 sculpture]” including “jellyfish physiology”); Aliotti v. R Dakin & Co., 831 F.2d
   2 898, 901 (9th Cir. 1987) (“Appellants therefore may place no reliance upon any
   3 similarity of expression resulting from either the physiognomy of dinosaurs or from
   4 the nature of stuffed animals. Thus, the intrinsic test is not satisfied merely because
   5 the Ding-A-Saurs and the Prehistoric Pets share similar postures and body
   6 designs.”); Folkens v. Wyland Worldwide, LLC, 882 F.3d 768, 775 (9th Cir. 2018)
   7 (finding that, even without evidence of dolphins in nature crossing “in the specific
   8 pose featured in both parties’ works,” the pose was not protectable); George S. Chen
   9 Corp. v. Cadona Int’l, Inc., 266 Fed. App’x 523, 524 (9th Cir. 2008) (holding that
 10 an ornament of a dolphin with “an open mouth and an uplifted twisted tail” follows
 11 from the idea of a swimming dolphin and is not protectable); Country Kids ‘N City
 12 Slicks, Inc. v. Sheen, 77 F.3d 1280, 1286 (10th Cir. 1996) (“to the extent that certain
 13 similarities between a copyrighted work and an allegedly infringing work are
 14 inherent in a nonprotectable idea—i.e., the general features of a doll—we must filter
 15 those similarities out of the comparison.”); Mattel, Inc. v. Azrak-Hamway Int’l, Inc.,
 16 724 F.2d 357, 360 (2d Cir. 1983) (“Though the dolls’ bodies are very similar, nearly
 17 all of the similarity can be attributed to the fact that both are artist’s renderings of
 18 the same unprotectable idea—a superhuman muscleman crouching in . . . a
 19 traditional fighting pose”); Durham Indus., Inc. v. Tomy Corp., 630 F.2d 905, 916-
 20 17 (2d Cir. 1980) (no infringement although dolls were “mechanically identical and
 21 structurally similar;” “all dolls attempting to express the same idea will of necessity
 22 display at least some similarity”); Reece v. Island Treasures Art Gallery, Inc., 468 F.
 23 Supp. 2d 1197, 1207-09 (D. Haw. 2006) (finding no substantial similarity even
 24 though central figure of dancer was “remarkably similar” in position and
 25 proportions); N. Am. Bear Co. v. Carson Pirie Scott & Co., No. 91-C-4550, 1991
 26 WL 259031, at *4 (N.D. Ill. Nov. 27, 1991) (“The only features that appear similar
 27 to the ordinary observer—such as general size, shape, color and softness—are the
 28

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   1 very same features that are so inherent in the abstract idea of a teddy bear that they
   2 are not subject to copyright protection.”).
   3           Once these “scenes a faire” are filtered out, it is clear that Plaintiff has failed
   4 to identify even a single element of protectable expression that is similar between
   5 the works. Indeed, the works differ dramatically in their protectable expression.
   6 (Motion at12:25-13:27.) Accordingly, Plaintiff has failed to plausibly allege
   7 substantially similarity.
   8           B.         Plaintiff Cites Distinguishable Cases And Incorrectly Asserts That
                          Defendants’ Cases Are Inapplicable
   9
               Plaintiff also contends that because Lisa Frank, Inc. v. Orb Factory Ltd., 2017
  10
       WL 6000477 (D. Ariz. Sept. 21, 2017) involved copyright infringement of a unicorn
  11
       and the court there denied summary judgment to defendants, the Court here should
  12
       deny Defendants’ motion. However, Plaintiff’s reliance on Lisa Frank is misplaced.
  13
       First, while the court concluded that there were triable issues of fact on the issue of
  14
       substantial similarity, the court did not provide any substantive analysis on this
  15
       issue. Id., at *8-10. The court did not filter out the unprotectable elements of
  16
       plaintiff’s work, nor did it otherwise compare the two works under the Ninth
  17
       Circuit’s extrinsic test. Id. Rather than analyze the two works, the court denied
  18
       summary judgment in conclusory fashion because “substantial similarity . . . is a
  19
       highly disputed, factual issue typically requiring trial.” Id., at *10. The court also
  20
       denied summary judgment because, under the inverse-ratio rule, the court reasoned
  21
       that “a lesser showing of substantial similarity” was necessary in light of the “high
  22
       degree of access.” Id.
  23
               This case is inapplicable to the facts here for two critical reasons. First,
  24
       unlike Lisa Frank, there are no “highly disputed, factual issues” precluding
  25
       dismissal of Plaintiff’s copyright infringement claim. Indeed, when the protectable
  26
       elements of Plaintiff’s unicorn are compared to MOIC’s unicorn, it cannot be
  27
       disputed that Plaintiff has failed to plausibly allege that the works are substantially
  28

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   1 similar. Second, the inverse-ratio rule, which the court relied on in Lisa Frank, has
   2 no bearing on this motion to dismiss. Recent Ninth Circuit jurisprudence shows that
   3 the Lisa Frank court incorrectly applied the inverse-ratio rule, because evidence of
   4 access does not alter the level of similarity that must be shown. See Rentmeester v.
   5 Nike, Inc., 883 F.3d 1111, 1124 (9th Cir. 2018) (“[t]he showing of substantial
   6 similarity necessary to prove unlawful appropriation does not vary with the degree
   7 of access the plaintiff has shown.”); Zindel v. Fox Searchlight Pictures, Inc., No.
   8 CV 18-1435 PA, 2018 WL 3601842, at *5 (C.D. Cal. July 23, 2018) (“The court
   9 agrees with Defendants that regardless of the level of access that Plaintiff alleges,
  10 the level of similarity that must be shown does not change.”).
  11           Ironically, rather than weaken Defendants’ position, Lisa Frank actually
  12 strengthens it by underscoring that unicorns are commonly depicted with white
  13 bodies and gold horns. (See Opposition at 9 (depiction of unicorns from Lisa
  14 Frank).)
  15           Plaintiff’s attempts to distinguish cases cited in Defendants’ moving brief are
  16 equally unconvincing. For example, Plaintiff argues that because Rentmeester and
  17 Reece involved photography of real-life subjects, courts are “readily able to filter
  18 out unprotectable elements that flowed naturally from the unprotectable real human
  19 subject,” unlike the fanciful subjects underlying the works in this case. (Opposition
  20 at 10:21-11:5.) However, filtering out unprotectable elements is not unique to
  21 works depicting real-life subjects, as courts have routinely filtered out unprotectable
  22 elements from all types of works, including those involving non-human or fanciful
  23 subjects. See, e.g., Satava, 323 F.3d at 810-11 (filtering out unprotectable elements
  24 from glass jellyfish sculpture); Aliotti, 831 F.2d at 901-02 (filtering out
  25 unprotectable elements from stuffed dinosaur toys); Herbert Rosenthal Jewelry
  26 Corp. v. Kalpakian, 446 F.2d 738, 742 (9th Cir. 1971) (filtering out unprotectable
  27 elements from jeweled bee pin); Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d 904,
  28 915-16 (9th Cir. 2010) (filtering out unprotectable elements from female dolls);

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   1 Croak v. Saatchi & Saatchi N. Am., Inc., 174 F. Supp. 3d 829, 835-36 (S.D.N.Y.
   2 2016) (filtering out unprotectable elements from depiction of a Pegasus).
   3           Just as courts have filtered out body parts and color selection from stuffed
   4 animals and glass jellyfish sculptures, the Court here may filter out the many
   5 unprotectable elements from Plaintiff’s Work which are inherent to the treatment of
   6 unicorns. (See Motion at 8:14-12:23.) Once these unprotectable elements are
   7 filtered out, it is clear that Plaintiff cannot allege substantial similarity.
   8 IV.       PLAINTIFF’S UNJUST ENRICHMENT AND UNFAIR
               COMPETITION CLAIMS ARE NOT GROUNDED IN BREACH OF A
   9           “CONFIDENTIAL RELATIONSHIP”
  10           Plaintiff also contends that its claims for unjust enrichment and unfair
  11 competition survive preemption because they are grounded in “breach of the
  12 confidential relationship between the parties.” (Opposition at 12.) Again, Plaintiff
  13 misconstrues the law.
  14           Although Plaintiff contends these claims are based on “breach of a
  15 confidential relationship,” Plaintiff has failed to allege, and cannot allege, the
  16 existence of a confidential relationship, for Plaintiff and MOIC had an arms-length
  17 business relationship which “is insufficient to impose fiduciary-like duties that arise
  18 from a confidential relationship.” Star Patrol Enters., Inc. v. Saban Entm’t Inc., 129
  19 F.3d 127, 1997 WL 683327, at *2 (9th Cir. 1997) (unpublished table disposition);
  20 see also 5 Nimmer on Copyright § 19D.02[A][2][a] (“When a [confidential]
  21 relationship exists, the law imposes duties on defendant in the nature of a
  22 fiduciary.”).
  23           Thus, contrary to Plaintiff’s suggestion, its claims for unjust enrichment and
  24 unfair competition are not grounded in breach of a confidential relationship. 2
  25
       2
  26           Nor are Plaintiff’s unjust enrichment and unfair competition claims grounded
               in a breach of confidence, which requires that plaintiff’s submitted idea be
  27           “novel.” See, e.g., 5 Nimmer on Copyright § 19D.06 (“Novelty continues to
  28           be a necessary element of breach of confidence and confidential relationship

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   1 Rather, these claims are based entirely on the unlawful use of Plaintiff’s alleged
   2 copyrighted works, and thus, are preempted by the Copyright Act. (See Motion at
   3 18:10-21:12.)
   4 V.        THE NDA’S EXCLUSION PROVISION EXCLUDES THE IDEA OF A
               WHITE UNICORN FROM PROTECTION, THEREBY DOOMING
   5           PLAINTIFF’S BREACH OF CONTRACT CLAIM
   6           Plaintiff’s attempts to salvage its breach of contract claim also fail. Plaintiff
   7 contends that the NDA was intended to protect any and all information submitted to
   8 MOIC, regardless of whether that information was public knowledge. This
   9 interpretation completely ignores the exclusion provision of the NDA, which
  10 expressly excludes from protection any information which “was or becomes
  11 generally available to the public.” [Doc. No. 17-4 at 3 (NDA, Section 3).]
  12           Plaintiff is correct that Defendants were not free to use Plaintiff’s submitted
  13 design proposal for the rainbow sherbet room, which contained numerous elements
  14 including light seafoam walls, a single rainbow, sherbet beanbags and a unicorn.
  15 [Complaint, ¶ 17.] However, Plaintiff has not alleged (nor can it) that Defendants
  16 used Plaintiff’s design proposal, or even the exact white unicorn from the proposal.
  17 Rather, Plaintiff attempts to cast MOIC’s use of a very different white unicorn as a
  18 breach of the NDA, despite the fact that the idea of a white unicorn was generally
  19 known by the public (if not a bona fide cultural fad) long before the parties entered
  20 into the NDA. (See, e.g., RJN, Ex. A at 2 (Merriam-Webster Dictionary defining
  21
               claims even in California”); Aliotti v. R. Dakin & Co., 831 F.2d 898, 903 (9th
  22           Cir. 1987) (“To prevail on their claim for breach of confidence, appellants
  23           must show that they conveyed confidential and novel information . . .”;
               affirming summary judgment for defendants on breach of confidence claim);
  24           Fink v. Goodson-Todman Enters., Ltd., 9 Cal. App. 3d 996, 1009 (1970)
  25           (“The right of plaintiff’s work to protection by reason of sufficient novelty
               and elaboration of the accessible idea is a prerequisite . . . in the unjust
  26           enrichment-breach of confidence count.”). Plaintiff has not alleged in the
  27           Complaint that its white unicorn is novel, nor can it, as the idea of a white
               unicorn, like the idea of a brown teddy bear, was common knowledge. (See
  28           Motion at 8:14-12:23, 21:13-23:7.)
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   1 unicorn as a “mythical, usually white animal . . .”) (emphasis added).) To interpret
   2 the NDA differently would effectively grant Plaintiff a monopoly over white
   3 unicorns vis a vis Defendants.
   4           Because Plaintiff cannot plausibly allege breach of the NDA based on
   5 MOIC’s use of a white unicorn, its breach of contract claim necessarily fails.
   6 VI.       MARYELLIS BUNN SHOULD BE DISMISSED FROM THIS ACTION
   7           Finally, Plaintiff has failed to show that it has sufficiently alleged conduct
   8 attributable to Ms. Bunn in her personal capacity. As such, Ms. Bunn should be
   9 dismissed from this action.
  10           While Plaintiff has pointed to allegations in the Complaint regarding Ms.
  11 Bunn, all of these allegations pertain to activities Ms. Bunn took on behalf of
  12 MOIC. The Complaint lacks allegations of any activity that Ms. Bunn undertook in
  13 her personal capacity. Even those allegations highlighted in Plaintiff’s Opposition
  14 are activities that Ms. Bunn took on behalf of MOIC, not in her personal capacity.
  15           The Complaint alleges only one agreement as the basis for its breach of
  16 contract claim—the 2016 NDA between MOIC and Plaintiff. That agreement
  17 facially states that “the Recipient has caused this Agreement to be executed by its
  18 duly authorized officer.” [Doc. No. 17-4 at 4.] Its terms purport to place
  19 obligations only on MOIC as Plaintiff’s “Vendor.” [Id. at 2.] No language in the
  20 agreement purports to apply to or bind Ms. Bunn in a personal capacity that is
  21 separate from her status as a corporate officer. [See generally Doc. No. 17-4.]
  22           In support of the theory that Ms. Bunn agreed to be personally bound by the
  23 NDA, Plaintiff cites Morgan Truck Body, LLC v. Fredrickson Distribution LLC, No.
  24 12-cv-6036, 2013 WL 4766331 (E.D. Pa. 2013). But, the Morgan Truck NDA
  25 contained a key clause not present in the NDA here. Specifically, that NDA stated
  26 that any corporate recipient of information covered by the NDA “agree[d] to be
  27 bound by the terms thereof to the same extent as if they were parties [t]hereto.” Id.,
  28 at *3 (emphasis added). The NDA here does not contain any similar provision. To

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   1 the contrary, it references obligations undertaken by the company only. As an
   2 agreement binding only Plaintiff and MOIC, the NDA does not confer obligations to
   3 Ms. Bunn in her personal capacity. Kelomar, Inc. v. Kudlow, 413 Fed. App’x 981,
   4 938 (9th Cir. 2011) (“Directors and officers are not personally liable on contracts
   5 signed by them for and on behalf of the corporation unless they purport to bind
   6 themselves individually.”). Because Ms. Bunn did not undertake any
   7 responsibilities toward Plaintiff in her personal capacity, the breach of contract
   8 claim against her must be dismissed.
   9           The copyright claim against Ms. Bunn also fails because it does not assert any
  10 specific facts demonstrating that she was personally the “guiding spirit” behind any
  11 alleged copying. Attempting to salvage its claims against Ms. Bunn, Plaintiff points
  12 to interviews and alleged statements by MOIC and Ms. Bunn. [See Complaint, ¶¶
  13 24-27.] However, in these interviews, Ms. Bunn does not state that she received,
  14 reviewed, or copied Plaintiff’s work. To the contrary, the cited interviews state that
  15 MOIC’s San Francisco Rainbow Room was an original concept designed by MOIC.
  16 Plaintiff cannot use statements that MOIC’s installation was an original design to
  17 plausibly allege exactly the opposite – that Ms. Bunn personally received,
  18 reviewed, and copied that design.
  19           In sum, the Complaint does not include any allegations that Ms. Bunn
  20 personally received, reviewed, or copied any material from Plaintiff. Its sparse (and
  21 in some places directly contradictory) assertions about Ms. Bunn’s personal
  22 conduct, are legally insufficient to support a tort claim against her. Therefore,
  23 Plaintiff’s claim for copyright infringement against Ms. Bunn must be dismissed.
  24 Plaintiff’s attendant claims for unjust enrichment and unfair competition therefore
  25 also fail.
  26 VII. CONCLUSION
  27           For the foregoing reasons, Defendants respectfully request that each of
  28 Plaintiff’s claims be dismissed without leave to amend. Should the Court deny the

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   1 dismissal of all of Plaintiff’s claims, Ms. Bunn should be dismissed as a defendant
   2 in this action.
   3 Dated: October 25, 2018
   4                                Respectfully submitted,
   5
                                    SHEPPARD, MULLIN, RICHTER & HAMPTON
   6                                LLP
   7
   8                                By             /s/ Carlo F. Van den Bosch
   9                                              CARLO F. VAN DEN BOSCH
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  11                                                  MARYELLIS BUNN
                                                1AND8 INC., dba MUSEUM OF ICE
  12                                                         CREAM
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